                                                                                                                                                  FILED
1   CIT ES                                                                                                                              6/8/2020 9:26   AM
                                                                                                                                          FELICIA PITRE
                   Case 3:20-cv-01772-X Document 1-4 Filed 07/03/20                             Page 1 of 4 PageID 10                   DISTRICT CLERK
                                                                                                                                   DALLAS    00., TEXAS
                                                                                                                                             CO.,
                                                                                                                                  Kayla Buckley DEPUTY


                                                                        DC-20-07808
                                                        CAUSE N0.
                                                              NO.

              ERNESTINA VILLAREAL,                                          §             1N
                                                                                          IN   THE DISTRICT COURT
                                                                            §
                                  Plaintiff,                                §
                                                                            §
              vs.                                                           §            B-44TH JUDICIAL DISTRICT
                                                                            §
                   CROSS AND BLUE SHIELD 0F
              BLUE CRoss                 OF                                 §
              TEXAS,                                                        §
                                                                            §             DALLAS COUNTY, TEXAS
                                 Defendant.


                                              PLAINTIFF'S ORIGINAL PETITION AND
                                             REQUEST FOR DECLARATORY JUDGMENT

                         COMES NOW, ERNESTINA VILLAREAL, Plaintiff in the above-entitled and numbered

             cause 0f action, complaining 0f
                                          ofDefendant,
                                             Defendant,                BLUE CROSS AND BLUE SHIELD OF TEXAS, and

             in support thereof would respectfully              show   the Court as follows:


                                                                           I.

                                                DISCOVERY CONTROL PLAN (LEVEL                         1)


                         1.1      Pursuant to TEX. RULES 0F
                                                         OF CIV. P. 169 and 190.2, the discovery ofthis
                                                                                                 of this case             is to
                                                                                                                             t0   be


             conducted under the Expedited Trial Process and Level                  1   Discovery Control Plan.

                                                                          II.

                                                                       PARTIES

                         2.1      ERNESTINA VILLAREAL                  (“Plaintiff’) is a resident
                                                                       (“Plaintiff”)                 0f Tarrant County, Texas.


                         2.2      Blue Cross Blue Shield 0f Texas,          A Division 0f Health Care        Service Corp. (“Blue


             Cross”)      is   an insurance company doing business in Texas and                may be      served With
                                                                                                                  with process by


             service     upon    its   registered agent,     CORPORATION SERVICE COMPANY,                         211   EAST   7TH


             STREET, SUITE               620,   AUSTIN, TEXAS          78701-3218.


                         Blue Cross     is   being   named pursuant to TEX.     R. CIV. P. 28, which allows a party to
                                                                                                                    t0 be sued


             in   its           0r common name.
                        assumed or




             PLAINTIFF‘S ORIGINAL PETITION AND
             PLAINTIFF'S                             REQUEST FOR DECLARATORY JUDGMENT                                       PAGE    1
    Case 3:20-cv-01772-X Document 1-4 Filed 07/03/20                        Page 2 of 4 PageID 11



                                                       III.

                                       JURISDICTION and VENUE

        3.1      This Court has jurisdiction in this cause since the relief sought by the Plaintiff       is



Within the jurisdictional limits 0f this Court.


        3.2      This Court has personal jurisdiction over the parties to this action because the


claims asserted herein arose directly from the Defendant’s activities in Dallas County, Texas.


        3.2      Venue   is   proper pursuant to TEX. CIV. PRAC.       & REM.   CODE   § 15.002   because a


substantial party of the events giving rise to this suit occurred in Dallas County, Texas.


        3.3      A11 conditions precedent have occurred.


                                                       IV.
                                           CLAIM FOR RELIEF

        4.1      Pursuant t0 TEX.      RULE OF     CIV. P. 47(c)(2), the Plaintiff seeks monetary relief of


$100,000.00 0r less and non-monetary         relief.



        4.2      Pursuant t0 28 U.S.C.       §   1332, Plaintiff seeks monetary relief in the amount of


$74,999.99, exclusive of interests and costs.


                                                        V.
                                                     FACTS
        5.1      On 0r about April 4,     2018, Plaintiff was involved in a motor-VChicle collision with


third-party. Plaintiff   made an      insurance claim against the third-party, Which was settled for


$30,000.00.


        5.2      Plaintiff    was   also covered   by an under-insured motorist policy through Mercury

Insurance Company. Plaintiff under-insured motorist claim has been settled for an additional


$50,000.00, resulting in a total recovery of $80,000.00.




PLAINTIFFS ORIGINAL PETITION AND REQUEST FOR DECLARATORY JUDGMENT                                     PAGE 2
      Case 3:20-cv-01772-X Document 1-4 Filed 07/03/20                                Page 3 of 4 PageID 12



         5.3      Bluecross   is   an insurer licensed to   sell   health insurance in Texas and has at       all   times


relevant t0 this suit been Plaintiff’s health insurance company. Bluecross has asserted a lien in the


amount of $58,809.20 against          the recovery   made by Plaintiff.

                                                        VI.
                          REQUEST FOR DECLARATORY JUDGMENT

         6.1      The Bluecross policy expressly         limits     its   subrogation interest to claims against a


“third-party or their insurer” for covered expenses. Accordingly, Bluecross                    is   not entitled t0 any


subrogation interest in the $50,000.00 under-insured motorist settlement.


         6.2      Pursuant to TEX. CIV. PRAC.         & REM. CODE          §140.005(c), Bluecross’ lien      is   limited


t0 “one-half 0f the Plaintiff” s gross recovery less attorney’s fees               and procurement costs.” The       total


settlement with the tortfeasor in this matter           was $30,000.00,            the attorney’s fees    (40%) were

$12,000.00, and the procurement costs were $1,075.46. Therefore, Bluecross’ lien in this matter


is   capped by   statute at $8,462.27.


         6.3      Pursuant t0 the Uniform Declaratory Judgment Act, TEX. CIV. PRAC.                     & REM. CODE,

§ 37, Plaintiff seeks a determination         of the validity and extent of Bluecross’ subrogation             interest.



Speciﬁcally, Plaintiff seeks declaratory judgment that 1) Bluecross holds no subrogation interest


in the $50,000.00 under—insured motorist settlement                and 2) Bluecross’ subrogation         interest in the


$30.000.00 third-party settlement        is   limited t0 $8,462.27.


          6.4     Pursuant to TEX. CIV. PRAC.        & REM. CODE §          37.009, the Plaintiff seeks reasonable


and necessary attorney’s      fees.


                                                     PRAYER

         WHEREFORE, PREMISES CONSIDERED,                            Plaintiff prays that     Defendant be cited in

terms of law t0 appear and answer herein, that upon ﬁnal                   trial   and hearing hereof,   that Plaintiff




PLAINTIFFS ORIGINAL PETITION AND REQUEST FOR DECLARATORY JUDGMENT                                                   PAGE 3
    Case 3:20-cv-01772-X Document 1-4 Filed 07/03/20                           Page 4 of 4 PageID 13



recover damages and declaratory judgment in accordance with the evidence, as well reasonable


attorney’s fees and costs,       and for such other further relief t0 which    Plaintiff may   be justly    entitled.




                                                              Ryﬁllly submitted,


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PLAINTIFF‘S ORIGINAL PETITION   AND REQUEST FOR DECLARATORY JUDGMENT                                           PAGE 4
